                       Case 2:22-mj-00434-LPL Document 3 Filed 03/18/22 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
                                                                     )      Case No.
JORDAN BONENBERGER, (DOB: XXXXXXXX)                                  )
                                                                     )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                             in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                     Offense Description

             18 U.S.C. § 1752(a)(1) - Entering and Remaining in a Restricted Building or Grounds;
             18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
             40 U.S.C. § 5104(e)(2)(D) - Disorderly Conduct in a Capitol Building;
             40 U.S.C. § 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Building.



         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                   Matthew L . Dunleavy, Special Agent
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH                                                                                              2022.03.14
                                                                                                           14:27:49 -04'00'
Date:             /1/202
                                                                                                 Judge’s signature

City and state:                         :DVKLQJWRQ'&                          5RELQ00HULZHDWKHU, U.S. Magistrate Judge
                                                                                               Printed name and title
